Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 1 of 17




                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OKLAHOMA

   1) STEADFAST INSURANCE COMPANY,
   a subsidiary of ZURICH HOLDING
   COMPANY OF AMERICA, INC.



                  Plaintiff,

   vs.
                                                                 Case No.: 18-cv-457-GKF-JFJ
   1) EAGLE ROAD OIL LLC,
   2) CUMMINGS OIL COMPANY,
   3) TERRITORY RESOURCES, LLC,
   4) ENERVEST OPERATING, LLC,
   5) PETRO WARRIOR, LLC,
   6) PETROQUEST ENERGY, LLC, and
   7) TRINITY OPERATING (USG) LLC,

                  Defendants.



                                           COMPLAINT



         COMES NOW Plaintiff Steadfast Insurance Company (“Plaintiff” or the “Steadfast”), and

  for its Complaint against Defendants state:


                                      NATURE OF ACTION

         1.      This pleading is based, to some degree, upon the personal knowledge of the Plaintiff,

  but is primarily based upon undersigned counsel’s investigation, which includes research of public

  documents, and interviews and testimony taken of geophysicists who worked in Oklahoma and

  have detailed knowledge of Oklahoma’s seismicity and causes thereof. Further, undersigned

  counsel has also retained an expert geophysicist that has conducted his own scientific research,

  which also supports the allegations made in this pleading.

                                             Page 1 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 2 of 17




         2.      By disposing of fracking wastewater deep into the earth, Defendants introduced

  contaminants into the natural environment that caused an adverse change to it in the form of

  unnatural seismic activity. In other words, due to Defendants’ pollution of the environment they

  caused the human induced earthquakes at issue in this case.

         3.      This is an action to recover Plaintiff’s payments of insurance proceeds to the Pawnee

  Nation, which suffered induced earthquake damages proximately caused by Defendants’ pollution

  of the environment within and around Pawnee, Oklahoma, and through their disposal of fracking

  wastewater with disposal wells, which are the pollutants.

         4.      Defendants’ pollution proximately caused the man-made earthquakes described in

  this Complaint, and which proximately caused property damages to Plaintiff’s insured, the Pawnee

  Nation of Oklahoma (“Nation”).

         5.      Based upon an insurance agreement between Plaintiff and the Nation, Plaintiff has

  paid $324,29.98 for property damages sustained by the Nation. By this complaint, Plaintiff seeks

  to recover the sums it has paid to the Nation, which were damages proximately caused by the

  Defendants, and to enforce its rights of subrogation.



                                              PARTIES

         6.      Plaintiff Steadfast Insurance Company is a citizen of Illinois, and has its principal

  place of business at 1400 American Lane, Schaumburg, Illinois 60196-1056. Plaintiff operates as

  a diversified multiple lines insurance company, and as a subsidiary of Zurich Holding Company

  of America, Inc.

         7.      Defendant Eagle Road Oil, LLC (“Eagle Road”) is a citizen of Oklahoma. It

  conducts oil and gas operations in this County, and more specifically, owns and operates certain



                                             Page 2 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 3 of 17




  wastewater disposal wells at issue in this case. Its principal place of business is at 321 South Boston,

  Suite 300, Tulsa, Oklahoma 74103.

         8.      Defendant Cummings Oil Company (“Cummings”) is a citizen of Oklahoma. It

  conducts oil and gas operations in this County, and more specifically, owns and operates certain

  wastewater disposal wells at issue in this action. Cummings has its principal place of business at

  5400 N. Grand Blvd., Suite 100, Oklahoma City, Oklahoma 73112.

         9.      Defendant Territory Resources, LLC (“Territory”) is a citizen of Oklahoma. It

  conducts oil and gas operations in this County, and more specifically, owned and operated certain

  wastewater disposal wells at issue in this action. Territory has its principal place of business at

  1511 S. Sangre Rd., Stillwater, Oklahoma 74074.

         10.     Defendant Enervest Operating, LLC (“Enervest”) is a citizen of Delaware and

  Texas. It conducts oil and gas operations in the County, and more specifically, owned and operated

  certain wastewater disposal wells at issue in this action. Enervest has its principal place of business

  at 1001 Fannin St., Suite 800, Houston, Texas 77002.

         11.     Defendant Petro Warrior, LLC (“Petro Warrior”) is a citizen of Oklahoma. It

  conducts oil and gas operations in the County, and more specifically, owned and operated certain

  wastewater disposal wells at issue in this action. Petro Warrior has its principal place of business

  at P.O. Box 3399, Wichita, KS 67201.

         12.     Defendant Petroquest Energy, LLC (“Petroquest”) is a citizen of Louisiana. It

  conducts oil and gas operations in the County, and more specifically, owned and operated certain

  wastewater disposal wells at issue in this action. Petroquest has its principal place of business at

  400 E. Kaliste Saloom Road, Suite 6000, Lafayette, Louisiana 70508.




                                              Page 3 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 4 of 17




          13.      Defendant Trinity Operating (USG) LLC (“Trinity”) is a citizen of Delaware and

  Florida. It conducts oil and gas operations in the County, and more specifically, owned and

  operated certain wastewater disposal wells at issue in this action. Trinity has its principal place of

  business at 700 Universe Boulevard, Attn. Corp. Gov., Juno Beach, Florida 33408.

          14.      Eagle Road, Cummings, Territory, Enervest, Petro Warrior, Petroquest, and Trinity

  are sometimes collectively referred to in this petition as “Defendants.”



                                    JURISIDICTION AND VENUE

          15.      Jurisdiction in this Court is proper.

          16.      This Court also has personal jurisdiction over Defendants as they do substantial

  business in the State of Oklahoma conducted the wastewater disposal operations that polluted the

  environment and caused the seismicity at issue and resulting damages to the Nation, and therefore,

  the Plaintiff.

          17.      Most of the damaged real properties at issue are on Indian or Tribal Lands held in

  trust by the United States or have restricted status.

          18.      Venue is proper in this Court as a substantial part of the events giving rise to these

  claims occurred here, and most of the Defendants are located in the State of Oklahoma.




                                                Page 4 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 5 of 17




                                    FACTUAL ALLEGATIONS

            19.   In recent years, thousands of earthquakes have occurred in Oklahoma.

            20.   In fact, Oklahoma is the most seismically active state in the continental United

  States.

            21.   Scientists have tied these earthquakes to the disposal of wastewater from fracking

  operations, which the oil and gas industry uses to release trapped oil and gas.

            22.   Over the years, the oil and gas industry has issued public statements to hide the

  seismic problems it is creating, and in fact continued a mantra that their operations did not cause

  earthquakes.

            23.   In truth, Oklahoma’s earthquakes over the past nine or so years have been caused

  by the oil and gas industry’s disposal of fracking related waste. Some have termed these

  earthquakes as “induced,” “man-made,” “human-made,” or “frackquakes.”

            24.   The waste fluids generated from fracking are mostly disposed of by injecting the

  wastewater fluids back into the earth (sometimes under pressure) in what are usually called

  wastewater disposal wells or injection wells. This process of pollution causes earthquakes, and

  indeed, have caused the earthquakes shaking Oklahoma since at least 2011, if not back to 2009.

            25.   In fact, the number of earthquakes in Oklahoma has increased more than 300-fold,

  from a maximum of 167 before 2009 to 5,838 in 2015.

            26.   As the number of earthquakes has increased, so has their severity. For example, the

  number of magnitude 3.5 earthquakes has increased fifty-fold from 4 in 2009 to 220 in 2015. See

  below:




                                             Page 5 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 6 of 17




         27.     These waste-induced earthquakes have toppled historic towers, caused parts of

  houses to fall and injure people, cracked basements, and shattered nerves, as people fear there

  could be worse to come.

         28.     On March 28, 2016, and revised on June 17, 2016, the United States Geological

  Survey (“USGS”) published a study quantifying these risks. It found that the earthquake risks in

  Oklahoma have risen rapidly as a result of deep disposal of production wastes. Oklahoma earthquake

  risks are now the highest in the nation. Maps included in the report show a broad swathe of the State

  of Oklahoma has a 5 to12% likelihood of a highly damaging earthquake in the next year. Petersen,

  M.D., Mueller, C.S., Moschetti, M.P., Hoover, S.M., Llenos, A.L., Ellsworth, W.L., Michael, A.J.,

  Rubinstein, J.L., McGarr, A.F., and Rukstales, K.S., 2016, 2016 One-year seismic hazard forecast

  for the Central and Eastern United States from induced and natural earthquakes: U.S. Geological

  Survey Open-File Report 2016–1035, 52 p., http://dx.doi.org/10.3133/ofr20161035.

         29.     On September 3, 2016, these scientists’ prediction that a more damaging earthquake

  to Oklahoma was coming proved to be true.

                                             Page 6 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 7 of 17




         30.     On that day, a magnitude-5.8 earthquake shattered Pawnee, Oklahoma. The

  earthquake’s epicenter was about 15 km northwest of the town of Pawnee.

         31.     This was the largest earthquake that had ever hit Oklahoma.

         32.     A magnitude-5.8 earthquake is a big one. Oklahoma Geological Survey’s Director

  Jeremy Boak said, “Any time you have a big earthquake like that, you worry about the aftershocks,”

  Boak said. “How big they’ll be, how many there will be.”

         33.     All segments of Oklahoma’s government, from the Governor to the Director of

  OGS, agree that Pawnee’s 5.8m earthquake was induced by Defendants’ wastewater disposal

  operations and from the injection wells they operate nearby.

         34.     The 5.8m earthquake near Pawnee on September 3, 2016, was not a naturally

  occurring earthquake, or an act of God. Instead, the Defendants’ pollution of the environment

  caused it, and the other earthquakes that followed.

         35.     In the area around Pawnee, there were at least 41 shocks involving magnitude-2.5+

  earthquakes before the end of September, 2016.

         36.     These quakes ranged in magnitude from 2.5m to 3.6, and have all been identified

  by USGS and shown in the following table:


    TIME                        MAG                          PLACE
       2016-09-26T09:09:05.500Z 2.5                          13km NW of Pawnee, Oklahoma
       2016-09-23T08:28:17.800Z 3                            12km NW of Pawnee, Oklahoma
       2016-09-18T21:30:52.300Z 2.7                          5km N of Pawnee, Oklahoma
       2016-09-16T23:02:23.400Z 2.5                          13km NW of Pawnee, Oklahoma
       2016-09-16T22:28:50.700Z 2.7                          10km NW of Pawnee, Oklahoma
       2016-09-12T21:39:14.500Z 3                            14km NW of Pawnee, Oklahoma
       2016-09-12T09:57:28.900Z 2.6                          8km NNW of Pawnee, Oklahoma
       2016-09-12T05:54:12.700Z 3                            8km NNW of Pawnee, Oklahoma
       2016-09-11T04:57:16.300Z 2.9                          12km NW of Pawnee, Oklahoma
       2016-09-10T17:26:45.800Z 2.5                          13km NW of Pawnee, Oklahoma
       2016-09-09T20:28:01.100Z 2.6                          10km NW of Pawnee, Oklahoma


                                             Page 7 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 8 of 17




         2016-09-08T01:54:16.100Z 2.5                      11km NW of Pawnee, Oklahoma
         2016-09-07T11:17:39.300Z 2.6                      11km NW of Pawnee, Oklahoma
         2016-09-07T03:11:55.100Z 2.7                      13km NW of Pawnee, Oklahoma
         2016-09-04T18:08:11.600Z 2.7                      10km NNW of Pawnee, Oklahoma
         2016-09-04T16:37:08.100Z 2.8                      11km NW of Pawnee, Oklahoma
         2016-09-04T12:56:04.900Z 3                        11km NW of Pawnee, Oklahoma
         2016-09-04T12:16:46.800Z 2.9                      12km NW of Pawnee, Oklahoma
         2016-09-04T08:48:26.500Z 2.5                      13km NW of Pawnee, Oklahoma
         2016-09-04T05:44:34.400Z 2.5                      9km NNW of Pawnee, Oklahoma
         2016-09-04T03:15:56.400Z 3.1                      11km NW of Pawnee, Oklahoma
         2016-09-03T23:56:36.600Z 3                        9km NNW of Pawnee, Oklahoma
         2016-09-03T23:17:26.500Z 2.6                      7km N of Pawnee, Oklahoma
         2016-09-03T18:07:04.400Z 2.5                      8km NNW of Pawnee, Oklahoma
         2016-09-03T15:31:40.900Z 3.4                      11km NW of Pawnee, Oklahoma
         2016-09-03T15:25:00.500Z 2.9                      9km NNW of Pawnee, Oklahoma
         2016-09-03T14:56:32.000Z 2.6                      9km NNW of Pawnee, Oklahoma
         2016-09-03T14:47:04.200Z 3.3                      9km NNW of Pawnee, Oklahoma
         2016-09-03T14:35:30.800Z 2.6                      13km NW of Pawnee, Oklahoma
         2016-09-03T14:07:16.900Z 2.5                      9km NW of Pawnee, Oklahoma
         2016-09-03T14:05:49.200Z 2.6                      9km NW of Pawnee, Oklahoma
         2016-09-03T13:49:37.500Z 2.5                      9km NW of Pawnee, Oklahoma
         2016-09-03T13:06:06.700Z 2.6                      13km NW of Pawnee, Oklahoma
         2016-09-03T12:58:37.800Z 3.6                      13km NW of Pawnee, Oklahoma
         2016-09-03T12:57:36.200Z 2.6                      12km NW of Pawnee, Oklahoma
         2016-09-03T12:39:48.800Z 2.7                      11km NW of Pawnee, Oklahoma
         2016-09-03T12:36:18.000Z 2.5                      11km NW of Pawnee, Oklahoma
         2016-09-03T12:32:02.300Z 2.6                      9km NNW of Pawnee, Oklahoma
         2016-09-03T12:21:25.200Z 2.7                      10km NNW of Pawnee, Oklahoma
         2016-09-03T12:18:54.000Z 2.6                      9km NNW of Pawnee, Oklahoma
         2016-09-03T12:16:22.200Z 3.3                      3 9km NNW of Pawnee, Oklahoma

         37.     Defendants’ pollution of the environment around Pawnee, through their disposal of

  fracking wastewater with injection wells, caused the 5.8m earthquake on September 3rd and all of

  the other seismicity shown in the table above.

         38.     Moreover, the quakes around Pawnee continued into October and November, 2016.

  In fact, there were eleven more earthquakes, and another substantial earthquake of 4.5m shook the

  areas around Pawnee on November 2, 2016.




                                            Page 8 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 9 of 17




         39.     The following table shows the earthquakes near Pawnee in October and November,

  2016, including the 4.5m earthquake:




         40.     All of these earthquakes were also caused by Defendants’ pollution of the

  environment around Pawnee, through their disposal of fracking wastewater with injection wells

  into the Arbuckle Formation, and caused the Nation to suffer more than $400,000.00 in physical

  and market value damages to its historical government buildings.

         41.     The Nation filed an insurance claim with Steadfast for these damages, and Plaintiff

  paid the Nation $324,269.98 pursuant to the terms of its insurance agreement with the Nation.

         42.     Eagle Road and Enervest operated five disposal wells in the area that polluted the

  Arbuckle with fracking waste. The five disposal wells, known as the Carter, George, Norman,

  Ripley SWD, and Will, wells, dumped a cumulative volume of more than 700 million gallons of

  wastewater over the past 12 years into the Arbuckle, and such pollution was a proximate cause of

  the magnitude-5.8 earthquake near Pawnee on September 3, 2016, and the other seismicity at issue

  in this pleading.



                                            Page 9 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 10 of 17




           43.     Territory operated seven disposal wells in the area that polluted the Arbuckle with

   fracking waste. The disposal wells, known as Endicott “D”, Hegco Brett, Nemaha, Oldham, Prucha,

   Triangle, and TrueBlood, dumped a cumulative volume of more than 3.7 billion gallons of

   wastewater over the past 12 years into the Arbuckle, and such pollution was a proximate cause of

   the magnitude-5.8 earthquake near Pawnee on September 3, 2016, and the other seismicity at issue

   in this pleading.

           44.     Petro Warrior operated two disposal wells in the area that polluted the Arbuckle

   with fracking waste. The disposal wells, known as Scroggins (well number 1 SWD) and Wildhorse

   SWDW, dumped a cumulative volume of more than 505 million gallons of wastewater over the

   past 12 years into the Arbuckle, and such pollution was a proximate cause of the magnitude-5.8

   earthquake near Pawnee on September 3, 2016, and the other seismicity at issue in this pleading.

           45.     Cummings operated two disposal wells in the area that polluted the Arbuckle with

   fracking waste. The disposal wells, known as Pawco and Rogers, dumped a cumulative volume of

   more than 505 million gallons of wastewater over the past 12 years into the Arbuckle, and such

   pollution was a proximate cause of the magnitude-5.8 earthquake near Pawnee on September 3,

   2016, and the other seismicity at issue in this pleading.

           46.     Petroquest and Trinity operated four disposal wells in the area that polluted the

   Arbuckle with fracking waste. The disposal wells, known as Leforce, Scroggins (well number 1

   SWD), Stricker, and Trigg (Donahoe #1), dumped a cumulative volume of more than 297 million

   gallons of wastewater over the past 12 years into the Arbuckle, and such pollution was a proximate

   cause of the magnitude-5.8 earthquake near Pawnee on September 3, 2016, and the other seismicity

   at issue in this pleading.




                                              Page 10 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 11 of 17




                                         CLAIMS FOR RELIEF


                                                  CLAIM I

                                        ABSOLUTE LIABILITY

           47.     Plaintiff   hereby   re-alleges    and   incorporates   the   foregoing   Paragraphs

   as if fully set forth herein, word-for-word.

           48.     Defendants’ actions described above are ultrahazardous activities that necessarily

   involve a risk of serious harm to a person that cannot be eliminated by the exercise of the utmost

   care and is not a matter of common usage.

           49.     Defendants conducted wastewater disposal operations in locations near Pawnee.

   These operations contributed to the 5.8m earthquake near Pawnee on September 3, 2016, as well

   as the other seismicity identified in this petition.

           50.     Since 2015, it has been admitted by Oklahoma’s government that all of Oklahoma’s

   seismicity since 2009 is due to wastewater injection operations into Oklahoma’s Arbuckle Formation,

   which resides very deep below Oklahoma’s surface. Indeed, in early-August 2015, more than a year

   before the 5.8m Labor Day weekend quake near Pawnee, Governor Mary Fallin, the Oklahoma

   Secretary of Energy and Environment Michael Teague, and the Governor’s Coordinating Counsel

   on Seismic Activity acknowledged a “direct correlation” between Oklahoma’s seismicity and

   wastewater disposal.

           51.     Eagle Road’s, Enervest’s, Cummings’, Territory’s, Petro Warrior’s, Petroquest’s,

   and Trinity’s millions of gallons of wastewater disposal operations into the Arbuckle under

   Pawnee created a high degree of risk of some harm to persons, commercial buildings, homes,

   and/or the chattels of others in the areas within and surrounding Pawnee.




                                                Page 11 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 12 of 17




              a)    It is known that earthquakes can cause substantial injuries to people, and

                    in fact prior to the 5.8m earthquake near Pawnee, Sandra Ladra of Prague,

                    Oklahoma, sued two oil and gas companies for substantial personal injuries

                    to her knees when rocks on her fireplace fell during a 5.7m wastewater

                    disposal induced earthquake near Prague hit in November of 2011. With

                    respect to Oklahoma’s largest earthquake, the 5.8m quake at issue here and

                    near Pawnee, Anna Mercer sustained substantial injuries during it and is

                    permanently disabled.

              b)    Moreover, after the Governor, the Secretary of Energy and Environment,

                    and the Seismicity Council acknowledged the “direct correlation” between

                    Oklahoma’s seismicity and fracking wastewater disposal, several schools

                    in Oklahoma began to educate their students on earthquake preparedness,

                    and also implemented safety drills – further support that wastewater

                    induced seismicity involves a substantial risk of harm.

              c)    Oklahoma’s seismicity, all of which since 2009 has been determined to be

                    induced by wastewater injection, has caused millions of dollars in damages

                    to properties around the state. High profile cases involve over $2 million

                    in damages to St. Gregory’s iconic building Benedictine Hall, and the

                    Lions Club’s building in Cushing. The Prague induced quakes of

                    November 2011 toppled one of St. Gregory’s Benedictine Hall’s four

                    towers. And the Cushing induced earthquakes of November 2016 resulted

                    in the total destruction of the Lions Club’s century-old building.




                                       Page 12 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 13 of 17




                  d)     In Pawnee, for example, Defendants’ induced earthquakes have totaled the

                         home of Johnny and Janice Bryant, and of course, have caused hundreds

                         of thousands of dollars in damages to government buildings of the Pawnee

                         Nation.

                  e)     Further, Defendants’ wastewater disposal operations have caused

                         substantial personal injury.

                  f)     The former seismologist for the State of Oklahoma at Oklahoma

                         Geological Survey, Dr. Austin Holland, has testified in other human-

                         induced earthquake litigation in Oklahoma, that disposal of fracking

                         wastewater into the Arbuckle Formation below Oklahoma is unreasonably

                         dangerous, will cause earthquakes, and thus, in an ultrahazardous activity.

                  g)     Plaintiff has also retained a geophysicist that has opined that Defendants’

                         wastewater operations are ultrahazardous.

                  h)     There is an obvious high degree of risk of some damage to persons, homes,

                         and other properties due to wastewater disposal operations that create

                         earthquakes, and the likelihood that harm will result from induced

                         seismicity is great.

          52.     There is an inability to eliminate the risks detailed above with the exercise of

   reasonable care as to the Defendants’ actions of disposing of millions of gallons of wastewater in

   the Arbuckle and near a fault line – an induced earthquake is inevitable and is a known consequence

   to those that dispose of these wastes in this manner, scientifically. Even Defendants’ compliance

   with government licensing and/or regulations does not eliminate the risk of causing seismicity and




                                                Page 13 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 14 of 17




   resulting harm to persons and property, and moreover, is no bar to the application of absolute

   liability principles under Oklahoma law.

          53.     Wastewater disposal operations, especially into Oklahoma’s Arbuckle and near

   faults, are not a matter of common usage, and indeed, are analogous to activities routinely

   considered as ultrahazardous such as blasting, demolition operations, the use, transport, or storing

   of hazardous chemicals, and the controlled burning of fields. All of these activities involve inherent

   risks, and are certainly not “normal to the average man.”

          54.     It is inappropriate to dispose of millions of gallons of fracking wastewater into

   Oklahoma’s Arbuckle Formation, especially in areas where there are fault lines nearby. Such

   activity unavoidably involves unreasonable risk.

          55.     While fracking wastewater disposal is a necessary part of oil and gas exploration

   and is of a value to the community, such is outweighed by its dangerous attributes – especially

   when such operations involve such huge volumes of wastewater, disposed of deep into the

   Arbuckle Formation, and near fault lines, and that result in devastating seismicity.

          56.     Indeed, two geophysicists have opined that wastewater disposal into Oklahoma’s

   Arbuckle Formation is an ultrahazardous activity. The first geophysicist to render such an opinion

   was the State of Oklahoma’s seismologist during the years of all of this induced seismicity, Dr.

   Austin Holland. In the fall of 2017, Dr. Holland opined, under oath in deposition testimony in

   another induced seismicity class action case related to the Prague earthquakes of November 2011,

   that wastewater disposal into the Arbuckle Formation was an ultrahazardous act. Likewise, Dr.

   Wayne Pennington, also a geophysicist, has the same opinion that disposal of fracking waste into

   the Arbuckle constitutes an ultrahazardous activity. His opinion has been offered in his deposition

   taken by Eagle Road and Cummings Oil in May of 2018.



                                              Page 14 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 15 of 17




           57.        As a direct and proximate result of Defendants’ ultrahazardous activities, Plaintiff

   has suffered damages in the form on insurance payments to the Nation to which Defendants are

   strictly liable.

                                                   CLAIM II

                                                NEGLIGENCE

           58.        Plaintiff re-alleges and incorporates the foregoing Paragraphs, as if fully set forth

   herein, word-for-word.

           59.        The Defendants owed a duty to Plaintiff to use ordinary care and not to operate or

   maintain their injection wells in such a way as to cause or contribute to seismic activity. Defendants,

   experienced in these operations, were well aware of the connection between injection wells and

   seismic activity, and acted in disregard of these facts.

           60.        As a direct and proximate result of these facts, omissions, and fault of the

   Defendants, the Plaintiff has suffered damages in the form on insurance payments to the Nation to

   which Defendants, which were reasonably foreseeable to the Defendants.

                                                  CLAIM III

                                           PRIVATE NUISIANCE

           61.        Plaintiff re-alleges and incorporates the foregoing Paragraphs, as if fully set forth

   herein, word-for-word.

           62.        Defendants’ conduct constitutes a private nuisance.

           63.        Plaintiff, via its insurance agreement with the Nation, had property rights and

   privileges regarding the use and enjoyment of their buildings, homes, land and personal property.

   Defendants’ actions and operations as described above have unlawfully and unreasonably

   interfered with those rights and privileges.



                                                 Page 15 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 16 of 17




          64.     Plaintiff has suffered damages in the form on insurance payments to the Nation to

   which Defendants, which were reasonably foreseeable to the Defendants.

                                               CLAIM IV

                                              TRESPASS

          65.     Plaintiff re-alleges and incorporates the foregoing Paragraphs, as if set forth herein,

   word-for-word.

          66.     Plaintiff, via its insurance agreement with its insured, is lawfully entitled to

   possession of its insured properties.

          67.     Defendants, without the permission or consent of Plaintiff, and without legal right,

   intentionally engaged in activities that resulted in concussions or vibrations entering Plaintiff’s

   properties. Such unauthorized invasion of their properties constitutes a trespass.

          68.     Because of Defendants’ trespass, Plaintiff has suffered damages in the form on

   insurance payments to the Nation to which Defendants, which were reasonably foreseeable to the

   Defendants.

                                    DEMAND FOR JURY TRIAL

          69.     Plaintiff respectfully demands a trial by jury.




                                              Page 16 of 17
Case 4:18-cv-00457-GKF-JFJ Document 2 Filed in USDC ND/OK on 08/31/18 Page 17 of 17




                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests the following relief:


                i.     judgment against each Defendant awarding damages for the amounts it
                       paid its insured;

                ii.    pre-judgment and post-judgment interest; and,

                iii.   all other relief to which Plaintiff is entitled or that the Court deems just and
                       proper.

   DATED: August 31, 2018                               Respectfully Submitted,

                                                       /s/ Curtis “Muskrat” Bruehl
                                                       Curtis “Muskrat” Bruehl, OBA No. 19418
                                                       THE BRUEHL LAW FIRM, PLLC
                                                       14005 N. Eastern Ave.
                                                       Edmond, OK 73013
                                                       Ph. (405) 938-3434
                                                       Fax: (405) 509-6268
                                                       Email: cbruehl@bruehllaw.com

                                                       -and-

                                                       Scott Poynter, AR Bar #90077
                                                       Poynter Law Group
                                                       400 W. Capitol Ave., Suite 2910
                                                       Little Rock, AR 72201
                                                       Ph. (501)251-1587
                                                       Fax: (501) 244-2614
                                                       Email: scott@poynterlawgroup.com
                                                       (Pro hac vice application anticipated)

                                                       Curt D. Marshall, NY Bar #2524841
                                                       Weitz & Luxenberg, PC
                                                       700 Broadway
                                                       New York, NY 10003
                                                       Tel: (212) 558-5500
                                                       Fax: (212) 344-5461
                                                       Email: cmarshall@weitzlux.com
                                                       (Pro hac vice application anticipated)

                                                       Attorneys for Plaintiff



                                           Page 17 of 17
